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                               Exhibit A
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                                              Gary Cohen
                                         560 Sylvan Avenue
                                               First Floor
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                                         (m) (212) 361-9619


     Vitae

     Education: Yale University
                NYU – BS Accounting, 1983

     Professional accreditation: CPA licensed in New York State, 1985.

     1983-1984: Coopers & Lybrand, audit staff.

     1984-1993: Rascoff Zysblatt Organization. Manager of royalty audit department.

     1993-Present: Owner, Gary Cohen Corporation. My practice includes business
     management for entertainers, royalty auditing, administration, valuations, and consulting.

     Over the last forty years I conducted more than one thousand royalty audits of record
     companies, music publishers and other licensees of copyrighted and trademarked
     materials, including audits related to touring, merchandise, and endorsement revenues
     comprised in Entertainment Income Agreements (i.e., 360 Agreements),

     I have extensive experience in music industry valuations including those of music
     publishing catalogs and record catalogs.

     Attached is a partial list of royalty audits I conducted.

     Sincerely,

     Gary Cohen
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     AUDIT ENGAGEMENTS – PARTIAL LIST
     NOVEMBER 13, 2024

     BEATLES –W- EMI PUBLISHING
     JOHN LENNON -W- EMI PUBLISHING
     ROLLING STONES –W- SONY
     ROLLING STONES –W- ABKCO
     AEROSMITH –W- SONY
     ELVIS PRESLEY ENTERPRISES – VARIOUS LICENSEES
     SOUNDGARDEN -W- UMG
     SANTANA –W- SONY
     JOURNEY –W- SONY
     TAYLOR SWIFT -W- BIG MACHINE RECORDS
     BLACK EYED PEAS –W- UMG
     NORAH JONES –W- BLUE NOTE
     NORAH JONES –W- EMI MUSIC
     JOHN COLTRANE -W- UMG
     ANITA O’DAY -W- UMG
     FERGIE –W- UMG
     KENDRICK LAMAR -W- INTERSCOPE RECORDS
     SLIPKNOT –W- ATLANTIC RECORDS
     GERSHWIN –W- WARNER CHAPPELL MUSIC
     MILES DAVIS –W- SONY
     DORIS DAY –W- SONY
     TOM PETTY -W- UNIVERSAL
     PAUL SIMON –W- WARNER BROS.
     BING CROSBY –W- DECCA
     BEACH BOYS –W- CAPITOL
     EMINEM –W- AFTERMATH RECORDS
     50 CENT –W- SHADY RECORDS
     BARRY MANILOW -W- ARISTA RECORDS
     SEAN PAUL –W- ATLANTIC RECORDS
     MICHAEL BOLTON –W- SONY
     METALLICA –W- ELEKTRA
     TENACIOUS D –W- SONY
     MODEST MOUSE –W- SONY
     METALLICA –W- POLYGRAM INTERNATIONAL
     FLO RIDA -W- ATLANTIC RECORDS
     RED HOT CHILI PEPPERS –W- WARNER BROS.
     JOE SATRIANI –W- RELATIVITY
     LOU REED –W- EMI PUBLISHING
     FUGEES –W- SONY
     PINK –W- ARISTA
     AVRIL LAVIGNE –W- ARISTA
     STEPPENWOLF –W- MCA
     DEXTER GORDON –W- BLUE NOTE
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     ENRIQUE IGLESIAS –W- FONOVISA
     JULIO IGLESIAS –W- SONY
     ZZ TOP –W- WARNER BROS
     DESMOND CHILD –W- EMI MUSIC PUBLISHING
     STONE TEMPLE PILOTS –W- ATLANTIC
     CARS –W- ELEKTRA
     QUINCY JONES –W- SONY (MICHAEL JACKSON)
     TORI AMOS –W- ATLANTIC
     ALANIS MORISSETTE –W- MAVERICK RECORDS
     OFFSPRING –W- EPITAPH
     STEVE MILLER –W- CAPITOL
     ANTONIO JOBIM –W- UNIVERSAL MUSIC
     HAROLD ARLEN –W- EMI MUSIC
     CRISTINA AGUILERA –W- BMG RECORDS
     SIA -W- SONYATV
     SESAME STREET –W- SONY
     WHITNEY HOUSTON –W- ARISTA
     JOHN MELLENCAMP –W- EMI MUSIC
     JOSH GROBAN –W- WARNER BROS
     RICK NOWELS –W- EMI MUSIC
     LUDACRIS –W- DEF JAM RECORDS
     RICK JAMES –W- EMI MUSIC
     LAURYN HILL –W- SONY
     MANA –W- EMI MUSIC
     MOBY –W- WARNER CHAPPELL
     GOOD CHARLOTTE –W- SONY
     QUINCY JONES –W- SONY
     SARAH BRIGHTMAN –W- ANGEL RECORDS
     SARAH MCLAUGHLAN –W- ARISTA RECORDS
     JOHN MAYER –W- SONY MUSIC
     JUSTIN TIMBERLAKE –W- BMG RECORDS
     CYNDI LAUPER -W- SONY RECORDS
     JOHN MAYER –W- SONY
     CRISTINA AGUILERA –W- BMG
     JEWEL –W- ATLANTIC
     BAD BUNNY -W- RIMAS RECORDS
     NICKELBACK –W- WARNER BROS. RECORDS
     BILLIE EILISH -W- INTERSCOPE RECORDS
     DAVID BOWIE –W- BMG
     WILLIE NELSON –W- SONY
     MICHAEL BUBLE –W- WARNER BROS. RECORDS
     LUMINEERS –W- DUALTONE RECORDS
     MUMFORD & SONS –W- GLASSNOTE RECORDS
     TAYLOR SWIFT -W- BIG MACHINE RECORDS
     HALSEY -W- CAPITOL RECORDS
     TAYLOR SWIFT -W- BIG MACHINE RECORDS
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     TAYLOR SWIFT -W- SONY MUSIC PUBLISHING
     JOHN COLTRANE -W- UNIVERSAL MUSIC GROUP
     PANIC! AT THE DISCO -W- ATLANTIC RECORDS
     DISTURBED -W- ATLANTIC RECORDS
     DISTURBED -W- WARNER/CHAPPELL MUSIC
     FLUME -W- FUTURE CLASSICS
     MARSHMELLO -W- RCA RECORDS
     MARSHMELLO -W- WARNER MUSIC UK
     DONALD GLOVER -W- GLASSNOTE RECORDS
     LUMINEERS -W- DUALTONE RECORDS
     SARA BAREILLES -W- SONY
     GREEN DAY -W- WARNER BROS.
     O’JAYS -W- SONY
     TEMPTATIONS -W- MOTOWN
     POLO G -W- SONY
     ALESSIA CARA -W- UNIVERSAL
     SAINT MOTEL -W- ATLANTIC
     JERRY RIVERA -W- SONY
     M’TUME -W- SONY
     REGINA SPEKTOR -W- WARNER BROS.
     IMAGINE DRAGONS -W- INTERSCOPE
     PLATTERS -W- MOTOWN
     BILLY PRESTON -W- UNIVERSAL
     COMMODORES -W- MOTOWN
     FALL OUT BOY -W- INTERSCOPE
     KACEY MUSGRAVES -W- UNIVERSAL
     DOOBIE BROS. -W- WARNER BROS.
     POST MALONE -W- UNIVERSAL
     JUICE WRLD -W- UNIVERSAL
     RAMONES -W- WARNER BROS. RECORDS
     BILLIE EILISH -W- UNIVERSAL
     DISTURBED -W- WARNER BROS.
     FINNEAS -W- KOBALT MUSIC PUBLISHING
     KENDRICK LAMAR -W- UNIVERSAL
     3 DOORS DOWN -W- UNIVERSAL
     DISRUPTOR RECORDS -W- SONY
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  Gary Cohen
  Expert Engagements
  2014 – Present
  November 13, 2024

     1. Pharrell Williams v. Bridgeport Music, Inc.
        US District Court for the Central District of California, Western Division
        Case # CV13-06004-JAK (AGRx)
        “Blurred Lines”
        Report/Deposition - 2014

     2. ABS Entertainment, et al. v. UMG Recordings
        US District Court for the Central District of California, Western Division
        Report – 2014

     3. Estate of James Brown v. Greenberg Traurig
        Court of Common Pleas, Second Judicial Circuit, State of South Carolina, County of Aiken
        C/A No: 2008-CP-02-322
        Report/Deposition - 2015

     4. Harry Balk v. Clarence Avant
        United States District Court for the Eastern District of Michigan, Southern Division
        Case Number 14-11767-LJM-RSW
        Report - 2016

     5. The Black Crowes v. Def American Recordings
        Superior Court for the State of California
        County of Los Angeles, Central District
        Case # BC605746
        Report – 2016

     6. HaloSongs v. Ed Sheeran, et al
        United States District Court
        Central District of California, Southern Division
        Case # 8:16-cv-01062
        Report - 2016

     7. Quincy Jones Productions v. MJJ Productions, et al
        Superior Court of the State of California
        County of Los Angeles
        Case # BC 525803
        Report/Deposition/Testimony - 2016
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     8. Scott Storch et al, Scott Brown, Chapter 7 Trustee v. Music Royalty Consulting, Inc.
        United States Bankruptcy Court
        Southern District of Florida
        Fort Lauderdale Division
        Case # 15-200095 – BKC – JKO
        Report/Deposition - 2018

     9. Ian Pai v. Blue Man Group, et al.
        Supreme Court of the State of New York
        County of New York
        Index. No. 650427/2016
        Report/Deposition - 2017

     10. O’Donoghue et. al. (Script) v. Arthur et. al.
         United States District Court
         Central District of California
         Case #2:18-cv-04266-CAS-RAO
         Report – 2019

     11. Braude Management v. Anastacia Newkirk
         Superior Court of the State of California
         County of Los Angeles, Central District
         Case No. 695606
         Report – 2019

     12. Armand Boladian v. George Clinton
         Superior Court of the State of California
         County of Los Angeles, Central District
         Case No. BC576665
         Support Services – 2019; Deposition/Testimony-2021

     13. Vicky Cornell v. Soundgarden, et al.
         United States District Court
         Southern District of Florida, Miami Division
         Case No. 1:19-cv-25045-JEM
         Report – 2020

     14. Structured Asset Sales v. Ed Sheeran, et al
         United States District Court
         Southern District of New York
         Case # 1:18-cv-5839 (RJS)
         Report – 2020
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     15. Orlando J Valle Vega, Edward Vazquez Vega v. World Music Latino, Inc. et al
         United States District Court
         For the District of Puerto Reco
         Case No. 20-cv-1303 (DRD)
         Report – 2021

     16. Advanced Alternative Media, Inc. v. Jacob Kasher Hindlin p/k/a J Kash
         Supreme Court of the State of New York
         County of New York
         Index No. 655916/2018
         Report – 2021

     17. John Nelson v. Laurie Mahoney, et al.
         Superior Court of California
         County of Los Angeles
         Index no. 20-STCV-34550
         Report – 2021

     18. Juan Catala v. Hyuk Shin, et al.
         United States District Court
         Southern District of New York
         Case No. 1:18-cv-08401df
         Report – 2021

     19. Kevin Ray v. Sean Waugaman, et al
         United States District Court
         Central District of California, Western Division
         Case No. 2:21-cv-05598-GW-Ex

     20. Paulette Rubinstein v. Music Sales Corporation
         United States District Court
         Southern District of New York
         Case No. 19cv 11187 (LJL)
         Report – 2022

     21. Gordian Runoff Ltd. v. Evan Nestor, Frank Iero, Paul Cleff
         Australia
         Report – 2022
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     22. Naomi Deibel, et al. v. Southern California Edison
         Superior Court of the State of California
         County of Los Angeles
         19STCV43379
         Report – 2022

     23. Louis Mayorga v. Lisa Fancher dba Frontier Records
         Superior Court of the State of California
         County of Los Angeles
         BC643234
         Report – 2021. Damages Expert Rebuttal Witness

     24. Plus One Records v. Theory Entertainment dba 300 Entertainment
         Supreme Court of the State of New York
         County of New York
         Damages – 2022

     25. Upfront Megatainment (Devyne Stephens) v. Aliune Thiam pka Akom
         Supreme Court of the State of New York
         County of New York
         No. 652156/2021
         Damages – 2022

     26. Thomson v. Hodgson (Supertramp)
         United States District Court
         Central District of California
         Case No. 2:21-cv-08124 AB (PLAx)
         Damages – 2023
         Report - 2023
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